Case 19-34054-sgj11 Doc 3410-1 Filed 07/21/22 Entered 07/21/22 17:38:09                                     Desc
               Global Notes to Post Confirmation Report Page 1 of 2



                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION


                                                                )
    In re:                                                      )   Chapter 11
                                                                )
    HIGHLAND CAPITAL MANAGEMENT, L.P.,1                         )   Case No. 19-34054-sgj11
                                                                )
                                    Reorganized Debtor.         )
                                                                )


                    GLOBAL NOTES TO POST CONFIRMATION REPORT

The Highland Claimant Trust has filed the attached post-confirmation report (the “PCR”) in the
United States Bankruptcy Court for the Northern District of Texas, Dallas Division (the “Court”),
with respect to the case of Reorganized Debtor Highland Capital Management, L.P., Case No. 19-
34054 (SGJ) (the “Bankruptcy Case”). The Highland Claimant Trust prepared the PCR with the
assistance of the Reorganized Debtor’s employees, advisors, and professionals. The PCR was
prepared solely for the purpose of complying with the post-confirmation quarterly reporting
requirements      established    by     the    United     States      Trustee     Program      (see
https://www.justice.gov/ust/chapter-11-operating-reports). The PCR should not be relied upon by
any persons for any information in connection with current or future financial conditions or events
relating to the Highland Claimant Trust, the Reorganized Debtor or its estate.

The financial information contained in the PCR is preliminary, unaudited, limited in scope, and is
not prepared in accordance with accounting principles generally accepted in the United States of
America nor in accordance with other applicable non-bankruptcy law. In preparing the PCR, the
Highland Claimant Trust relied on financial data from the books and records available to it at the
time of such preparation, as well as certain filings on the docket in the Bankruptcy Case. Although
the Highland Claimant Trust made commercially reasonable efforts to ensure the accuracy and
completeness of the PCR, inadvertent errors or omissions may exist. The Highland Claimant Trust
reserves the right to amend and supplement the PCR as may be necessary or appropriate.

Part 1: Summary of Post-Confirmation Transfers

Part 1 has been revised to delete a disbursement made in a prior quarter and inadvertently included
in the subsequent quarter.

The following chart shows the disbursements made in each previous quarter:



1
  The Reorganized Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and
service address for the above-captioned Reorganized Debtor is 100 Crescent Court, Suite 1850, Dallas, TX 75201.


DOCS_DE:236683.1 36027/003
DOCS_NY:46166.2 36027/003
Case 19-34054-sgj11 Doc 3410-1 Filed 07/21/22 Entered 07/21/22 17:38:09                   Desc
               Global Notes to Post Confirmation Report Page 2 of 2




Part 2: Preconfirmation Professional Fees and Expenses

The Highland Claimant Trust did not make any payment of professional fees prior to Confirmation
of the Plan.

Part 3: Recoveries of the Holders of Claims and Interests under Confirmed Plan

The Highland Claimant Trust did not make any distributions to Holders of Claims and Interests
under the confirmed Plan during this period.




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